
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-027-CV



ALICE LOWRIMORE, INDEPENDENT 					APPELLANT

EXECUTRIX OF THE ESTATE OF ROBERT 

E. LOWRIMORE, DECEASED	



V.



FIRST STATE BANK 	APPELLEE



----------

FROM PROBATE COURT NO. 1 OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM	

PANEL D:	McCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: February 12, 2004	 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




